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LAST WILL AND TESTAMENT
OF
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Fre agen, ROBERT KOZLOWSKI
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I, ROBERT KOZLOWSKL, domiciled in Boone County, Indiana, being of
sound and disposing mind and memory, do make, publish, and declare this
document to be my Last Will and Testament, and I hereby revoke all Wills and

Codicils heretofore made by me.

ARTICLE I

I direct that my enforceable debts, expenses of my last illness, and
funeral and administration expenses of my estate shall be paid by my Personal
Representative from the principal of my residuary estate. In its discretion, my
Personal Representative may continue to pay any installment obligations
incurred by me during my lifetime on an installment basis, or may prepay any
or all of the such obligations in whole or in part, and my Personal
Representative may, in its discretion, distribute any asset encumbered by such
an obligation subject to the obligation.

I further direct my Personal Representative to pay all estate, inheritance
and succession or other taxes, state or federal, together with any interest or
penalty thereon, which may be assessed as a result of my death, without

regard to whether such taxes be payable by my estate or by the recipient of

any property and without regard to whether such taxes are upon property

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passed by the terms of this will or in any other manner. AII such taxes shall
be paid out of the residue of my estate, as part of the expenses of the
administration thereof, and they shall not be charged against the recipient of
such property or any beneficiary of this will, other than the beneficiaries of the

residue of my general estate.

ARTICLE I
Notwithstanding any provision in our Ante-Nuptial Agreement to the
contrary, all the rest, residue and remainder of the property which I own at
the time of my death, being all property, real and personal, tangible and
intangible, wherever situated, I give to my wife, SUSAN M. KOZLOWSKL, if
she survives me. It is my intention to exclude all of our children under the

terms of this article,

ARTICLE ITI

My wife and I both have children from a prior marriage; our children
include my child: STEVEN KOZLOWSKI, and my wife's children: JESSICA
HORWITZ and ZACHARY HORWITZ.

If my wife, SUSAN M. KOZLOWSKI, predeceases me, all of the rest,
residue and remainder of my property which I own at my death is hereby
given to our three children, in equal shares. If any of our three children
predecease me, the interest which would have passed to him or her had he or

she survived me is hereby given in equal shares to his or her then living issue,

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per stirpes, if any, and if none, that deceased child or step-child's share shall

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be given to our remaining children in equal shares.

ARTICLE IV

I hereby appoint my wife, SUSAN M. KOZLOWSKI, as Personal
Representative of this my Last Will and Testament. If she cannot serve or
continue to serve (or is removed), in that capacity, for any reason, I appoint
JESSICA HORWITZ, as Personal Representative. I request that no bond be
required of any of such Personal Representatives in such capacities, provided,
however, if a bond is required, then I request that such bond be nominal in
amount,

I hereby grant to any fiduciaries appointed or serving hereunder, the
powers as provided by Indiana law to such fiduciary in acquiring, investing,
reinvesting, exchanging, retaining, selling, and managing property, the
fiduciary shall exercise the judgment and care under the circumstances then
prevailing which individuals of prudence, discretion, and intelligence exercise
in the management of their own affairs, not in regard to speculation, but in
regard to the permanent disposition of their funds , considering the probable
income as well as the probable safety of their capital.

I specifically authorize my Personal Representative to proceed with
unsupervised administration.

IN TESTIMONY WHEREOF, {have hereunto subscribed my name, to

this my last will and testament, consisting of this and two preceding

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typewritten pages, and for the purpose of identification I have signed each

such page, all in the presence of the persons witnessing it at my request on this
30th day of April, 2007, at Kendallville, Indiana.

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ROBERT KOZLOWSKI, Testator

The foregoing instrument, was signed, sealed, published and declared
by ROBERT KOZLOWSKI, the Testator, to be the Testator's last will and
testament, in our presence, and we at the Testator's request and in the

Testator's presence and in the presence of each other have hereunto subscribed

   

. oS as witnesses, this 30th day of April, 2007 at Kendallville, Indiana.

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Witness

   

     

= NX Witness "

(~~ ; ) ACKNOWLEDGMENT
UNDER PENALTIES FOR PERJURY, we, the undersigned Testator and
the undersigned witnesses, respectively, whose names are signed to the
attached or foregoing instrument declare:
(1) _ that the Testator executed the instrument as the Testator's will;
(2) that, in the presence of both witnesses, the Testator signed or
acknowledged the signature already made or directed another to sign
for the Testator, in the Testator's presence,

(3) that the Testator executed the will as a free and voluntary act for the

purposes expressed in it;

 

 

 
 

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(4) that each of the witnesses; in the presence of the Testator and of each
other, signed the will as a witness;

(5) that the Testator was of sound mind when the will was executed; and

(6) that to the best knowledge of each of the witnesses the Testator was, at
the time the will was executed, eighteen (18) or more years of age or was
a member of the armed forces or of the merchant marine of the United
States or its allies.

Dated this 30th day of April, 2007.

ROBERT KOZLOWSKI, Testator

 
 

Witness Signature:

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Printed: Douglay/j. A ,

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Resident of Kendallville, Noble ¢ unty, State of Indiana

Witness Signature stink hay

Printed: Kristin L. King

 

Resident of Churubusco, Whitley County, State of Indiana

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